 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 1 of 14 Page ID #:2663



 1 Timothy P. Fox (CA Bar 157750)
   tfox@creeclaw.org
 2 Elizabeth Jordan*
   ejordan@creeclaw.org
 3 CIVIL RIGHTS EDUCATION AND
 4 ENFORCEMENT       CENTER
   1245 E. Colfax Avenue, Suite 400
 5 Denver, CO 80218
   Tel: (303) 757-7901
 6 Fax: (303) 872-9072
 7 Lisa Graybill*
   lisa.graybill@splcenter.org                  Stuart Seaborn (CA Bar 198590)
 8 Jared Davidson*                              sseaborn@dralegal.org
   jared.davidson@splcenter.org                 Melissa Riess (CA Bar 295959)
 9 SOUTHERN POVERTY LAW                         mriess@dralegal.org
   CENTER                                       DISABILITY RIGHTS ADVOCATES
10 201 St. Charles Avenue, Suite 2000           2001 Center Street, 4th Floor
11 New Orleans, Louisiana 70170                 Berkeley, California 94704
   Tel: (504) 486-8982                          Tel: (510) 665-8644
12 Fax: (504) 486-8947                          Fax: (510) 665-8511
13
14
     Attorneys for Plaintiffs (continued on next page)
15
                         UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17                       EASTERN DIVISION – RIVERSIDE
18
     FAOUR ABDALLAH FRAIHAT, et al.,               Case No.: 19-cv-01546-JGB(SHKx)
19                        Plaintiffs,
                   v.                              Plaintiffs’ Ex Parte Application for
20
                                                   Order Requiring Issuance of Notice
21   U.S. IMMIGRATION AND CUSTOMS                  to Class Members of the Preliminary
     ENFORCEMENT, et al.,                          Injunction Order, and to Obtain
22
                                                   Information and Documents from
23              Defendants.                        Defendants Necessary to Monitor
                                                   Compliance with that Order
24
25
26
27
28
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 2 of 14 Page ID #:2664



 1 William F. Alderman (CA Bar 47381)           Mark Mermelstein (CA Bar 208005)
   walderman@orrick.com                         mmermelstein@orrick.com
 2 Jake Routhier (CA Bar 324452)                ORRICK, HERRINGTON &
   jrouthier@orrick.com                         SUTCLIFFE LLP
 3 ORRICK, HERRINGTON &                         777 South Figueroa Street
 4 SUTCLIFFE    LLP                             Suite 3200
   405 Howard Street                            Los Angeles, CA 90017
 5 San Francisco, CA 94105                      Tel: (213) 629-2020
   Tel: (415) 773-5700                          Fax: (213) 612-2499
 6 Fax: (415) 773-5759
                                                Leigh Coutoumanos**
 7 Michael W. Johnson**                         lcoutoumanos@willkie.com
   mjohnson1@willkie.com                        WILLKIE FARR &
 8 Dania Bardavid**                             GALLAGHER LLP
   dbardavid@willkie.com                        1875 K Street NW, Suite 100
 9 Jessica Blanton**                            Washington, DC 20006
   jblanton@willkie.com                         Tel: (202) 303-1000
10 Joseph Bretschneider**                       Fax: (202) 303-2000
11 jbretschneider@willkie.com
   WILLKIE FARR &                               Shalini Goel Agarwal
12 GALLAGHER LLP                                (CA Bar 254540)
   787 Seventh Avenue                           shalini.agarwal@splcenter.org
13 New York, NY 10019                           SOUTHERN POVERTY LAW
   Tel: (212) 728-8000                          CENTER
14 Fax: (212) 728-8111                          106 East College Avenue
                                                Suite 1010
15 Maia Fleischman*                             Tallahassee, FL 32301
   maia.fleischman@splcenter.org                Tel: (850) 521-3024
16 SOUTHERN POVERTY LAW                         Fax: (850) 521-3001
17 CENTER
   2 South Biscayne Boulevard                   Maria del Pilar Gonzalez Morales
18 Suite 3750                                   (CA Bar 308550)
   Miami, FL 33131                              pgonzalez@creeclaw.org
19 Tel: (786) 347-2056                          CIVIL RIGHTS EDUCATION
   Fax: (786) 237-2949                          AND ENFORCEMENT CENTER
20                                              1825 N. Vermont Avenue, #27916
   Christina Brandt-Young*                      Los Angeles, CA 90027
21 cbrandt-young@dralegal.org                   Tel: (805) 813-8896
   DISABILITY RIGHTS                            Fax: (303) 872-9072
22 ADVOCATES
   655 Third Avenue, 14th Floor
23 New York, NY 10017
24 Tel: (212) 644-8644
   Fax: (212) 644-8636
25
26 Attorneys for Plaintiffs (continued from previous page)
   *Admitted Pro Hac Vice
27 **Pro Hac Vice Application Forthcoming
28
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 3 of 14 Page ID #:2665



 1           Pursuant to Local Rule 7-19, Plaintiffs hereby apply ex parte for an order
 2 requiring Defendants to: (1) issue notice to the class, in the manner described
 3 below, of the April 20 and 21, 2020 Orders Granting Plaintiffs’ Motions for a
 4 Preliminary Injunction (“PI Order”) 1 and Class Certification; 2 and (2) produce
 5 documents and information necessary to monitor Defendants’ compliance with the
 6 Preliminary Injunction order.
 7           Because the PI Order properly requires immediate action by the Defendants
 8 (for example, they must identify most detained individuals with risk factors within
 9 10 days of the April 20 order (PI Order at 38)), and because the pandemic
10 continues to exponentially spread in detention centers (there are currently almost
11 300 confirmed cases), Plaintiffs request that the normal briefing schedule for
12 motions be expedited, and that the deadlines for Defendants’ response be set at
13 April 28, 2020, and for Plaintiffs reply be set at April 29, 2020.
14           Plaintiffs’ attempts to meet and confer with Defendants: On April 22,
15 2020, Plaintiffs’ counsel sent an email to Defendants’ counsel requesting that the
16 parties schedule a call for the afternoon of April 23 to meet and confer concerning
17 production of information relevant to Defendants’ compliance with the PI order,
18 and provision of notice to the class. Although Defendants initially agreed to
19 schedule the meet and confer call, later that day they stated that they were still
20 reviewing some matters and would be in touch the next day. On the morning of
21 April 23, Plaintiffs’ counsel provided Defendants with the specific documents and
22 information sought through this application, along with the specific notice to the
23 class and proposed dissemination plan. Plaintiffs again requested a meet and confer
24 call that afternoon. Defendants responded that they would not be prepared to meet
25
26   Order (1) Granting Mots. to File Amicus Brs.; (2) Granting Pls.' Emergency Mot.
     1
   to Certify Subclass; (3) Granting Pls.' Mot. for Prelim. Inj.; and Denying as Moot
27 Pls.' Ex Parte Appl. to File Suppl., ECF No. 132.
   2
     Order on Pls.' Emergency Mot. for Provisional Class Certification, ECF No. 133.
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          1
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 4 of 14 Page ID #:2666



 1 and confer that afternoon but would be back in touch shortly. Plaintiffs responded
 2 by stating that, in light of the urgency of these issues, they would need to hear back
 3 from Defendants by the morning of April 24, and the Defendants responded that
 4 that would not be possible. 3
 5 I.        NOTICE SHOULD BE ISSUED TO CLASS MEMBERS INFORMING
             THEM OF THE REQUIREMENTS OF THE PRELIMINARY
 6           INJUNCTION ORDER.
 7           Pursuant to Federal Rule of Civil Procedure 23(c)(2)(A), Plaintiffs
 8 respectfully request that the Court order implementation of the Notice procedures
 9 described herein in order to ensure that all members of the certified subclasses
10 receive notice of this Court’s order. Defendants’ control of access to Detention
11 Facilities necessitates that Defendants be charged with implementing notice
12 procedures to ensure class members have notice of the of the preliminary
13 injunction and its obligations as soon as possible.
14           Written Notice to Class Members. Attached hereto as Exhibit A is a
15 proposed written notice to class members. Plaintiffs request that the written notice
16 also be translated into and provided in Spanish as well the three most-spoken
17 languages at each facility. Interpreters must be provided to read the notice to
18 anyone who speaks any other language. Defendants must provide means for
19 communicating the notice to individuals with vision disabilities or who cannot
20 read. Such means must include braille, large print, and audio announcements.
21           Posting of Written Notice. The written notice shall be provided and
22 prominently displayed in each dormitory, all common areas, law library, reception
23 area, and be hand-provided to individuals in any
24 isolation/segregation/solitary/quarantine unit, including but not limited to those in
25 medical isolation.
26
     Decl. of Timothy P. Fox in Supp. of Pls.' Ex Parte Appl. for Order Requiring
     3
27 Issuance of Notice to Class Members of the Prelim. Inj. Order, and to Obtain Info.
   and Docs. from Defs. Necessary to Monitor Compliance with that Order.
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          2
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 5 of 14 Page ID #:2667



 1           Written Notice Provided at Intake. A copy of the written notice shall be
 2 provided to each individual upon intake and communicated to the detained person
 3 in their language.
 4           Written Notice Read at Legal Orientation Program (“LOP”)
 5 presentations. Each facility with an LOP shall ensure that the LOP presentations
 6 cover the written notice in their presentations.
 7           Copies of Court Orders in Law Library. Each facility shall maintain a
 8 minimum of five copies of the Court’s April 20 and April 21 orders in the Law
 9 Library.
10           Requirement that Defendants Facilitate Toll-Free Method to
11 Confidentially Contact Class Counsel. Class members require a method to
12 contact Class Counsel confidentially in order to discuss their rights under the
13 Court’s orders (“Hotline”). Because Defendants control the mechanisms for
14 facilitating confidential calls by detained persons, Plaintiffs respectfully request
15 that the Court order Defendants to immediately confer with Plaintiffs and negotiate
16 a method for Class members to be able to contact Plaintiffs via telephone
17 confidentially and free of charge. Plaintiffs further respectfully request that the
18 Hotline be functionable by May 3, 2020. Plaintiffs further respectfully request that
19 the Class Member Notice be amended to reflect the Hotline number and that
20 Defendants not impede Plaintiffs’ ability to provide instructions to Class Members
21 for calling the Hotline.
22 II.       DEFENDANTS SHOULD BE REQUIRED TO PRODUCE
             INFORMATION AND DOCUMENTS NECESSARY TO MONITOR
23           COMPLIANCE WITH THE PRELIMINARY INJUNCTION ORDER.
24           Attached as Exhibit B is a list of eight categories (with subparts) of
25 information and documents, together with a production schedule, which are
26 necessary to monitor Defendants’ compliance with the Preliminary Injunction
27 order.
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          3
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 6 of 14 Page ID #:2668



 1           This Court has the “inherent authority to monitor and enforce its prior
 2 orders,” 4 and courts frequently order defendants to produce information and
 3 documents relevant to assessing whether they are in compliance with preliminary
 4 injunctions. See, e.g., Aguayo v. S. Coast Refuse Corp., No. CV 02-6258 AHM
 5 JTLX, 2002 WL 34705394, at *3 (C.D. Cal. Oct. 10, 2002) (requiring the
 6 defendant to make available extensive documentation, in part to monitor the
 7 respondents’ compliance with the terms of a preliminary injunction order); United
 8 States v. Stoll, No. C05-0262 RSM, 2005 WL 1763612, at *8 (W.D. Wash. Apr.
 9 26, 2005) (“The United States shall be permitted to engage in post-injunction
10 discovery to monitor defendants' compliance with this and any other order entered
11 by this Court.”).
12           Here, each of the categories of information and documents listed in Exhibit
13 B is necessary to monitor compliance with specific requirements of the Preliminary
14 Injunction order:
15           Request 1: This request seeks basic information – a list of the facilities in
16 which people detained by ICE are held and related information – necessary to
17 monitor the order;
18           Request 2: This request seeks information and documents showing that ICE
19 has informed all field office directors of the requirements of the Preliminary
20 Injunction order, and the substance of those communications, which is directly
21 relevant to this Court’s requirement that “Defendants shall provide ICE Field
22 Office Directors with the Risk Factors” and shall monitor and enforce compliance
23 with the Pandemic Response Requirements and the Performance Standard. PI
24 Order at 38-39.
25           Request 3, 4 & 6: These requests seek information and documents directly
26
27   4
      Abdi v. McAleenan, No. 1:17-CV-00721 EAW, 2019 WL 1915306, at *3
     (W.D.N.Y. Apr. 30, 2019).
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          4
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 7 of 14 Page ID #:2669



 1 relevant to this Court’s order that defendants shall “identify and track all ICE
 2 detainees with Risk Factors,” and shall “provide necessary training to any staff
 3 tasked with identifying detainees with Risk Factors.” Id. at 38.
 4           Request 5: This request seeks information and documents directly relevant
 5 to this Court’s order that defendants shall make “timely custody determinations for
 6 detainees with Risk Factors.” Id.
 7           Request 7: This request seeks documents and information directly relevant
 8 to this Court’s order that Defendants shall “promptly issue a performance standard
 9 or a supplement to their Pandemic Response Requirements” defining the “minimal
10 acceptable detention conditions for detainees with Risk Factors.” Id.
11           Request 8: This request seeks documents and information directly relevant
12 to this Court’s order that Defendants shall “monitor and enforce facility-wide
13 compliance with the Pandemic Response Requirements and the Performance
14 Standard.” Id. at 39.
15 III.      CONCLUSION
16           For the reasons set forth above, Plaintiffs respectfully request that this ex
17 parte application be granted.
18 DATED: April 24, 2020
19
     Respectfully submitted,
20
21 /s/ Jared Davidson_______                                  /s/ Timothy P. Fox_______
   Jared Davidson                                             Timothy P. Fox
22
   Lisa Graybill                                              Elizabeth Jordan
23 Shalini Goel Agarwal                                       Maria del Pilar Gonzalez Morales
   Maia Fleischman                                            CIVIL RIGHTS EDUCATION AND
24
   SOUTHERN POVERTY LAW                                       ENFORCEMENT CENTER
25 CENTER
26
27
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          5
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
 Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 8 of 14 Page ID #:2670



 1
   /s/ Stuart Seaborn_______                                  /s/ William F. Alderman__
 2
   Stuart Seaborn                                             William F. Alderman
 3 Christina Brandt-Young                                     Mark Mermelstein
   Melissa Riess                                              Jake Routhier
 4
   DISABILITY RIGHTS                                          ORRICK, HERRINGTON &
 5 ADVOCATES                                                  SUTCLIFFE LLP
 6
                                                              /s/ Michael W. Johnson____
 7                                                            Michael W. Johnson
 8                                                            Dania Bardavid
                                                              Leigh Coutoumanos
 9                                                            Jessica Blanton
10                                                            Joseph Bretschneider
                                                              WILLKIE FARR & GALLAGHER
11                                                            LLP
12
13 Attorneys for Plaintiffs
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                          6
     Ex Parte Application for Order Requiring Issuance of Notice to Class Members of the Preliminary Injunction
     Order, and to Obtain Information and Documents from Defendants Necessary to Monitor Compliance with
     that
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 9 of 14 Page ID #:2671




                                                Exhibit A
   NOTICE OF COURT ORDER REQUIRING CUSTODY RE-DETERMINATIONS OF INDIVIDUALS WITH
                             RISK FACTORS FOR COVID-19
   IF YOU ARE
      -   OVER THE AGE OF 55
      -   PREGNANT
      -   HAVE MEDICAL OR MENTAL HEALTH ISSUES OR A DISABILITY THAT PLACES YOU AT
          RISK OF COVID-19
   THEN ICE MUST REVIEW WHETHER IT CAN CONTINUE DETAINING YOU.
   On April 20, 2020, a federal court approved a “class action” in a lawsuit called Fraihat v. ICE,
   which challenges medical conditions in ICE detention facilities. A class action is a law suit
   brought on behalf of a group of people. You are part of this “class” if you have one of the
   following Risk Factors which puts you at risk of harm from coronavirus/COVID-19:

    Being over the age of 55;                           Kidney disease

    Being pregnant;                                     Auto-immune diseases
    Having chronic health conditions, including:        Chronic respiratory disease (asthma, chronic
    cardiovascular disease (congestive heart            obstructive pulmonary disease including
    failure, history of myocardial infarction or,       chronic bronchitis or emphysema, or other
    history of cardiac surgery)                         pulmonary diseases);
    High blood pressure                                 Severe psychiatric illness
    Liver disease                                       History of transplantation
    Diabetes                                            HIV/AIDS
    Cancer


   If you have any of these Risk Factors above, then ICE must review whether it can continue to
   hold you in detention. This applies even if you have previously been denied parole, bond, or
   habeas. This also applies no matter your custody classification, even if you have previously been
   convicted of a crime that subjects you to mandatory detention.

   The lawyers representing the class are working to make sure that ICE follows the court’s April
   20 order regarding its response to the COVID-19 pandemic, but will not be able to represent
   you in your immigration case. The law firms for the class are the Southern Poverty Law Center,
   Civil Rights Education & Enforcement Center, Disability Rights Advocates, Orrick Herrington &
   Sutcliffe LLP, and Willkie Farr & Gallagher LLP.




                                                    1
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 10 of 14 Page ID
                                 #:2672


If you need additional information about the court’s April 20 order or wish to provide additional
information, please contact: To Be Provided Pursuant to Order that ICE Ensure Confidential
Calling Method




                                               2
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 11 of 14 Page ID
                                 #:2673



                                      Exhibit B
   1. A spreadsheet listing all facilities in which people detained by ICE are held
      (“Facilities”), the number of such people currently held at each Facility,
      which field office the Facility falls within, and the name and contact
      information of the field office director (including email and mailing address)
   2. Documents showing that ICE has informed all field office directors of all of
      the steps required by the Preliminary Injunction order, and the substance and
      date of those communications. This includes any documents advising field
      office directors what the risk factors are, as well as any additional guidance
      as to risk factors and how to conduct custody assessments.
   3. Determination of whether Current Detainees have risk factors: For
      people who, as of April 30, 2020, have been in ICE custody for at least five
      days (“Current Detainees”), we request the following information to be
      produced no later than May 4, 2020:
      A.    The number of Current Detainees for whom ICE has not yet
      determined whether they have one or more risk factors, the Facilities in
      which they are detained, the reasons why this determination has not yet
      occurred, and when that determination is expected to occur;
      B.     With respect to Current Detainees for whom ICE has made a
      determination as to whether they have one or more risk factors, and, on a
      weekly basis, those Current Detainees for whom such determination is made
      after April 30, 2020 (preferably in the form of an electronic spreadsheet):
            1.     The person or persons who made that determination;
            2.    The training, experience and/or background that made those
            people competent to make such determinations;
            3.     When the determinations were made;
            4.     A list with the names, countries of origin, A-numbers, dates of
            birth, Facility at which each is detained, and custody status of each
            person identified as having a risk factor, and the risk factor or factors
            they were determined to have.
            5.     For Current Detainees who claim to have a risk factor, but ICE
            finds otherwise, a spreadsheet listing the names, countries of origin,

                                          1
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 12 of 14 Page ID
                                 #:2674



            A-numbers, dates of birth, Facility at which each is detained, custody
            status and claimed risk factor of each such person, and the basis for
            ICE’s determination that the person did not have a risk factor.
   4. Determination of whether Future Detainees have risk factors: For people
      who, as of April 30, 2020, have been in ICE custody for less than five days,
      or who are detained after April 30, 2020 (“Future Detainees”), we request
      the following information to be produced (preferably as an electronic
      spreadsheet) on a weekly basis beginning May 4, 2020:
      A.     The number of Future Detainees for whom ICE has not, within five
      days of their placement in detention, determined whether they have one or
      more risk factors, the Facilities in which they are detained, the reasons why
      this determination has not yet occurred, and when that determination is
      expected to occur;
      B.    With respect to Future Detainees for whom ICE has made a
      determination as to whether they have one or more risk factors:
            1.     The person or persons who made that determination;
            2.    The training, experience and/or background that made those
            people competent to make such determinations;
            3.     When the determinations were made;
            4.     The names, countries of origin, A-numbers, dates of birth,
            Facility at which each is detained, and custody status of each person
            identified as having a risk factor, and the risk factor or factors they
            were determined to have.
            5.     For Future Detainees who claim to have a risk factor, but ICE
            finds otherwise, the names, countries of origin, A-numbers, dates of
            birth, Facility at which each is detained, custody status and claimed
            risk factor of each such person, and the basis for ICE’s determination
            that the person did not have a risk factor.
   5. Custody redeterminations. On a weekly basis, beginning on May 4, 2020,
      for each Facility (preferably in the form of the spreadsheet):
      A.     The number of detained people determined to have one or more risk
      factors;

                                         2
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 13 of 14 Page ID
                                 #:2675



      B.    The name, country of origin, date of birth and A-Number, of each
      such person;
      C.    For each such person that has undergone a custody redetermination:
            1.     The result of that redetermination;
            2.    The identity and position of the person who made the
            redetermination;
            3.     Where ICE determines that the detained person will be released,
            when that release occurred, and any conditions placed on release (e.g.
            ankle monitor). If the person has not yet been released, when release
            is anticipated to occur.
            4.     Where ICE determines that the detained person will not be
            released, the specific basis for that determination, and the provision
            under the Immigration and Naturalization Act under which ICE
            alleges such person is detained.
      D.     For each person identified as having one or more risk factors that has
      not yet undergone a custody redetermination, when that determination will
      take place.
   6. Training. By May 4, 2020, all materials related to training of people tasked
      with identifying detained people with risk factors, including timing of such
      trainings.
   7. Performance Standards. By May 4, 2020, the following information and
      documents concerning the Performance Standards (as defined in the
      Preliminary Injunction order):
      A.     If Performance Standards have not been issued by May 4, 2020, the
      date that such Standards will be issued, as well as any drafts of those
      Standards.
      B.    To whom ICE is issuing the Standards.
      C.    Any training materials concerning the Standards.
      D.     Any additional guidance addressing implementation, or meaning, of
      the Standards.


                                         3
Case 5:19-cv-01546-JGB-SHK Document 136 Filed 04/24/20 Page 14 of 14 Page ID
                                 #:2676



   8. Monitoring and enforcement. By May 4, 2020, and on a monthly basis
      thereafter:
      A.     The name, position and contact information (email and mailing
      address) of the people tasked with monitoring and ensuring compliance with
      the PRR and the Performance Standard, and for each, the Facilities for
      which he or she is responsible. This request extends to individuals at ICE
      central office or IHSC with oversight over the entire system or multiple
      Facilities.
      B.     Documents showing specifically how this will be accomplished,
      including whether each Facility will be subject to in-person inspections, how
      often, what forms or documents will be used in connection with this, and the
      consequences if a Facility is determined not to be in compliance with the
      PRR and the Performance Standard.
      C.    On an ongoing basis, documents that are generated from this process.




                                        4
